Case 2:05-cv-02023-BBD-dkv Document 3 Filed 08/30/05 Page 1 of 12 Page|D 1

 

ilH}BY ns _
IN THE UNITED STATES DISTRICT COURT m "" "'“"'Dc'

FOR THE WESTERN DISTRICT OF` TENNESSEE

 

wESTERN DIVISION 05AU539 PHI#||
WQME§.M.MD
Q§R!<. U.G DSTP?CT OOURT
X ELJGFEJ‘&§MDMS
RAYMOND KENNEBREW, X
X
Petitioner, X
X
v. X No. 05-2023~D/v
X
DAVID MILLS, X
X
Respondent. X
X

 

ORDER DIRECTING PETITIONER TO PAY $5 FILING FEE
ORDER DENYING MOTION FOR APPOINTMEN'I` OF COUNSEL
ORDER OF DISMISSAL
ORDER DENYING CER'I'IFICATE OF APPEALABILITY
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Petitioner, Raymond Kennebrew, prison registration number
321243, an inmate at the West Tennessee State Penitentiary (WTSP),
Site 2, filed this petition under 28 U.S.C. § 2254. Kennebrew did
not file a motion to proceed ip fp;mg pauperis or pay the filing
fee. The petitioner is ORDERED to either file a properly completed
ip §p;ma pauperis affidavit or pay the five dollar ($5.00) habeas
filing fee within thirty (30) days of the date of entry of this
order.

The Clerk of Court is ORDERED to file the case and to record
the respondent as David Mills. The Clerk shall not issue any

process in this case.

 
 
  

Tmsmmumemememdonmedoc
with Rule 58 andy `.`Q(a`, l …..r* on

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 2 of 12 Page|D 2

Kennebrew also filed a nwtion for appointment of counsel.
Rule 8(c) of the Rules Governing Section 2254 Proceedings in the
United States District Courts provides:

If an evidentiary hearing is warranted, the judge must

appoint an attorney to represent a petitioner who

qualifies to have counsel appointed under 18 U.S.C. §
3006A). The judge must conduct the hearing as soon as
practicable after giving the attorneys adequate time to
investigate and prepare. These rules do not limit the
appointment of counsel under 18 U.S.C. § 3006A at any
stage of the proceeding.

Because the Court, after reviewing the petition, has concluded that

no hearing is necessary and the petition is to be dismissed without

prejudice, the motion for appointment of counsel is DENIED.

While serving concurrent eight-year sentences on probation,
Kennebrew stabbed Lebron Sledge, causing a three-inch deep wound
which ultimately resulted in Sledge’s death. During his pre-trial
incarceration, petitioner made two phone calls to his girlfriend
claiming, in the first, that Sledge had initiated the incident by
striking him, and, in the second, explaining that “I did it for
your, Ernestine.” Each of the phone conversations was recorded.
On November 27, 2001, after jury selection, Kennebrew entered an
Alford plea to a reduced charge of second degree murder. As a
result of his guilty plea, his probation on the prior convictions
was revoked and he was required to serve his eight year sentences
in the custody of the Department of Correction.

On October 8, 2002, Kennebrew filed a petition for post-

conviction relief attacking the validity of the second degree

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 3 of 12 Page|D 3

murder conviction. Petitioner alleged that his guilty plea was
involuntary because he did not understand the nature and
consequences of the plea. He also he contended that he was denied
the effective assistance of counsel. In support of his claims, he
argued that his plea, entered on the day of trial, occurred “during
an emotional, stressful, and compelling situation” which counsel
should have known and counsel should have insisted upon a trial
based upon a theory of self defense. The trial court denied the
petition determining that petitioner fully understood the
proceedings and was competent to enter his plea. Kennebrew
appealed. The Court of Criminal Appeals affirmed the trial court's
determination. Kennebrew\n State, No. E2003-01896-CCA~R3-PC, 2004
WL 1149495 (Tenn. Crim. App. May 24, 2004), perm. app. denied,
(Oct. ll, 2004).

On January 4, 2005, petitioner filed this habeas petition
alleging that his plea agreement was “illegal” under Tennessee's
Sentencing Reform.Act of 1989 and the principles of Apprendi v. New
Jersey, 530 U.S. 466 (2000), because he must serve his entire
sentence with no possibility of parole.

A habeas petitioner must first exhaust available state
remedies before requesting relief under 28 'U.S.C. § 2254(b).
Twenty-eight U.S.C. § 2254(b) states, in pertinent part:

(b) (1) An application for a writ of habeas corpus on

behalf of a person in custody pursuant to the

judgment of a State court shall not be granted
unless it appears that*

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 4 of 12 Page|D 4
(A) the applicant has exhausted the remedies
available in the courts of the State; or

(B) (i) there is an absence of available
State corrective process; or

(ii) circumstances exist that render such
process ineffective to protect the
rights of the applicant.

(2) An application for a writ of habeas corpus may

be denied on the merits,r notwithstanding the

failure of the applicant to exhaust the

remedies available in the courts of the

State .
Thus, a habeas petitioner must first exhaust available state
remedies before requesting relief under § 2254. See e. .,
Granberry v. Greer, 481 U.S. 129, 133-34 (1987); Rose v. Lundy, 455
U.S. 509, 519 (1982). See also Rule 4, Rules Governing Section
2254 Cases in the United States District Courts. A petitioner has
failed to exhaust her' available state remedies if he has the
opportunity to raise his claim by any available state procedure.
Preiser v. Rodriguez, 411 U.S. 475, 477, 489-90 (1973).

To exhaust these state remedies, the applicant must have
presented the very issue on which he seeks relief from the federal
courts to the courts of the state that he claims are wrongfully
confining her. Picard v. Connor, 404 U.S. 270, 275-76 (1971); Rust
v. Zent, 17 F.3d 155, 160 (6th Cir. 1994). "[A] claim for relief

in habeas corpus must include reference to a specific federal

constitutional guarantee, as well as a statement of the facts which

entitle the petitioner to relief." Gray v. Netherland, 518 U.S.
152, 162~63 (1996)(citing Picard, 404 U.S. at 271). "'[T]he

4

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 5 of 12 Page|D 5

substance of a federal habeas corpus claim must first be presented

to the state courts.'" Gray, 518 U.S. at 163 (quoting Picard, 404
U.S. at 278). A habeas petitioner does not satisfy the exhaustion

requirement of 28 U.S.C. § 2254(b) "by presenting the state courts

only with the facts necessary to state a claim for relief.ll Gray,
518 U.S. at 163. A. habeas petitioner does not satisfy the

exhaustion requirement of 28 U.S.C. § 2254(b) “by presenting the
state courts only with the facts necessary to state a claim for
relief." ldp

Conversely, “[i]t is not enough to make a general appeal to
a constitutional guarantee as broad as due process to present the
‘substance' of such a clamn to a state court.” ld¢ When a
petitioner raises different factual issues under the same legal
theory, he is required to present each factual claim to the highest
state court in order to exhaust his state remedies. O’Sullivan v.
Boerckel, 526 U.S. 838, 845 (1999)(holding that exhaustion
requirement mandates presentation of all claims to state court
through discretionary review process); see also Pillette v. Foltz,
824 F.2d 494, 496 (6th Cir. 1987). An inmate has not exhausted his
state remedies if he has merely presented a particular legal theory
to the courts without presenting each factual clainh Pillette, 824
F.2d at 497-98. The claims must be presented to the state courts
as a matter of federal law. “It is not enough that all the facts
necessary to support the federal clain\ were before the state
courts, or that a somewhat similar state-law claim was made.”

5

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 6 of 12 Page|D 6

Anderson v. Harless, 459 U.S. 4, 6 (1982); see also Duncan v.
Henry, 513 U.S. 364, 366 (1995) (per curiam) (“If a habeas

petitioner wishes to claim that an evidentiary ruling at a state
court trial denied him the due process of law guaranteed by the
Fourteenth Amendment, he must say so, not only in federal court,
but in state court.”).

Moreover, the state Court decision must rest primarily on
federal law. Coleman v. Thompson, 501 U.S. 722, 734-35 (1991).
If the state court decides a claim on an independent and adequate
state ground, such as a procedural rule prohibiting the state court
from reaching the merits of the constitutional claim, a petitioner
ordinarily' is barred by this procedural default from seeking
federal habeas review. Wainwright v. Svkes, 433 U.S. 72, 87-88
(1977). However, the state-court decision need not explicitly
address the federal claims; instead, it is enough that the
petitioner’s brief squarely presents the issue. Smith v. Digmon,
434 U.s. 332 (1978) (per curiam).

Kennebrew’s habeas claims were not raised in the post-
conviction petition or addressed by the Tennessee Courts. Further
presentation of his claims is now barred by both Tennessee's state
post-conviction petition statute of limitations and by Tennessee's
one-petition rule. _§p Tenn. Code Ann. § 40-30-202(a), (c)(1997).
Thus, the claims are exhausted through petitioner’s procedural
default, and consideration of them in this federal petition is

barred by that default.

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 7 of 12 Page|D 7

Kennebrew has alleged neither cause and prejudice nor actual
innocence to avoid this procedural bar. He may not use post-
conviction counsel's failure to raise these claims as cause and
prejudice for his default, because there is no right to counsel in
a collateral proceeding, under Coleman v. Thompson, 501 U.S. 722,
734-45 (1991) and Pel’lrlsylvania V. Finleyj, 481 U.S. 551, 555
(1987)(holding “the right to appointed counsel extends to the first
appeal of right, and no further."). See also 28 U.S.C. § 2254(i)
(“The ineffectiveness or incompetence of counsel during Federal or
State collateral post-conviction proceedings shall not be a ground
for relief in a proceeding arising under section 2254.”).
Petitioner's procedural default operates as a complete and
independent procedural bar to federal habeas review of the claims
raised in this petition.

Therefore, as it "plainly appears from the face of the
petition and any exhibits annexed to it that the petitioner is not
entitled to relief in the district court," summary dismissal prior
to service on the respondent is proper. Rule 4, Rules Governing
Section 2254 Cases in the United States District Courts. The
petition is DISMISSED.

The Court must also determine whether to issue a certificate
of appealability. The statute provides:

(1) Unless a circuit justice or judge issues a

certificate of appealability, an appeal may not be
taken to the court of appeals from-

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 8 of 12 Page|D 8

(A) the final order in a habeas corpus proceeding
in which the detention complained of arises
out of process issued by a State court; or

(B) the final order in a proceeding under section
2255.

(2) A certificate of appealability may issue under
paragraph (1) only if the applicant has made a
substantial showing of the denial of a
constitutional right.

(3) The certificate of appealability under paragraph
(1) shall indicate which specific issue or issues
satisfy the showing required by paragraph (2).

28 U.S.C. § 2253(c); see also Fed. R. App. P. 22(b); Lyons v. Ohio
Adult Parole Auth., 105 F.3d 1063, 1073 (6th Cir. 1997) (district
judges may issue certificates of appealability under the AEDPA).
No § 2255 movant may appeal without this certificate.

In Slack v. McDaniel, 529 U.S. 473, 483-84 (2000), the Supreme
Court stated that § 2253 is a codification of the standard
announced in Barefoot v. Estelle, 463 U.S. 880, 893 (1983), which
requires a showing that “reasonable jurists could debate whether
(or, for that matter, agree that) the petition should have been
resolved in a different manner or that the issues presented were
“‘adequate to deserve encouragement to proceed further.'” Slack,
529 U.S. at 484 (quoting Barefoot, 463 U.S. at 893 & n.4).

The Supreme Court recently cautioned against undue limitations
on the issuance of certificates of appealability:

[O]ur opinion in Slack held that a COA does not require

a showing that the appeal will succeed. Accordingly, a

court of appeals should not decline the application of

a COA merely because it believes the applicant will not

demonstrate an entitlement to relief. The holding in

8

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 9 of 12 Page|D 9

Slack would mean very little if appellate review were
denied because the prisoner did not convince a judge, or,
for that matter, three judges, that he or she would
prevail. lt is consistent with § 2253 that a COA will
issue in some instances where there is no certainty of
ultimate relief. After all, when a COA is sought, the
whole premise is that the prisoner “‘has already failed
in that endeavor.'”

Miller-El v. Cockrell, 123 S. Ct. 1029, 1039 (2003) (quoting
Barefoot, 463 U.S. at 893). Thus,

A prisoner seeking a COA must prove “‘something more than

the absence of frivolity’” or the existence of mere “good

faith” on his or her part. . . . We do not require

petitioners to prove, before the issuance of a COA, that

some jurists would grant the petition for habeas corpus.

Indeed, a claim can be debatable even though every jurist

of reason might agree, after the COA has been granted and

the case has received full consideration, that petitioner

will not prevail.
Id. at 1040 (quoting Barefoot, 463 U.S. at 893); see also id. at
1042 (cautioning courts against conflating their analysis of the
merits with the decision of whether to issue a COA; “The question
is the debatability of the underlying constitutional claim, not the
resolution of that debate.”).l

In this case, there can be no question that any appeal by this
petitioner on any of the issues raised in this petition does not

deserve attention. The petitioner cannot make a substantial

showing of the denial of a federal right, and he is not entitled

 

1 By the same token, the Supreme Court also emphasized that “[o]ur

holding should not be misconstrued as directing that a COA always must issue.”
ldp at 1039. Instead, the COA requirement implements a system of “differential
treatment of those appeals deserving of attention from those that plainly do
not." ;gp at 1040.

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 10 of 12 Page|D 10

to a certificate of appealability under 28 U.S.C. § 2253. The
Court therefore DENIES a certificate of appealability.

Also with regard to any appeal, the United States Court of
Appeals for the Sixth Circuit has held that the Prison Litigation
Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915(b), does not apply
to appeals of orders denying § 2254 petitions. Kincade v.
Sparkman, 117 F.3d 949, 951 (6th Cir. 1997); pip McGore v.
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases).
Rather, to seek leave to appeal pp fp;ma pauperis in a § 2254 case,
and thereby avoid the $255 filing fee required by 28 U.S.C. §§ 1913
and 1917,2 the petitioner must seek permission from the district
court under Rule 24(a) of the Federal Rules of Appellate Procedure.
Kincade, 117 F.3d at 952. If the motion is denied, the petitioner
may renew the motion in the appellate court.

Rule 24(a) of the Federal Rules of Appellate Procedure states,
in pertinent part that:

A party to an action in a district court who desires to

proceed on appeal pp fp;pa pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by
Form 4 of the Appendix of Forms, the party's inability

 

2 Effective November 1, 2003, the fee for docketing an appeal is $250.

See Judicial Conference Schedule of Fees, q l, Note following 28 U.S.C. § 1913.
Under 28 U.S.C. § 1917, a district court also charges a $5 fee:

Upon the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowing,
or notice of the allowance cf, an appeal or of a writ of certiorari
$5 shall be paid to the clerk of the district court, by the
appellant or petitioner.

10

Case 2:05-cv-O2023-BBD-dkv Document 3 Filed 08/30/05 Page 11 of 12 Page|D 11

to pay fees and costs or to give security therefor, the

party's belief that that party is entitled to redress,

and a statement of the issues which that party intends

to present on appeal.
The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith. For the same reasons
the Court denies a certificate of appealability, the Court
determines that any appeal in this case would not be taken in good
faith. It is therefore CERTIFIED, pursuant to Fed. R. App. P.
24(a), that any appeal in this matter by this defendant is not
taken in good faith, and he may not proceed on appeal lp forma

pauperis.

IT Is so 0RDERED this gouoday of August, 2005.

 

ll

DIS,ITRCT COURT - WESTERN DISCTRIT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02023 Was distributed by fax, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

Raymond Kennebrew

WEST TENNESSEE STATE PENITENTIARY
321243

P.O. Box l 150

Henning, TN 38041

Honorable Bernice Donald
US DISTRICT COURT

